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 11
 12                       UNITED STATES DISTRICT COURT
 13                     CENTRAL DISTRICT OF CALIFORNIA
 14
 15   LANARD TOYS LIMITED,                 )     CASE NO. 2:17-cv-04469 R
                                           )     (JPRx)
 16                      Plaintiff,        )
                                           )     Honorable Manuel L. Real
 17         vs.                            )
                                           )     JOINT STIPULATION OF
 18   BIG LOTS STORES, INC. and RMS        )     VOLUNTARY DISMISSAL
      INTERNATIONAL (USA), INC., and       )     WITH PREJUDICE
 19   DOES 1 through 10,                   )     [FED. R. CIV. P. RULE
 20                                        )     41(A)(1)(A)(II)]
                         Defendant.        )
 21                                        )     [PROPOSED] ORDER
                                           )     LODGED
 22                                        )
      BIG LOTS STORES, INC. and RMS        )
 23   INTERNATIONAL (USA), INC.,
                                           )
 24                      Counterclaimants, )
                                           )
 25      vs.                               )
                                           )
 26   LANARD TOYS LIMITED,                 )
                                           )
 27                      Counterdefendant. )
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                JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
                             Case 2:17-cv-04469-R-JPR Document 46 Filed 11/06/17 Page 2 of 4 Page ID #:485



                               1         TO THIS HONORABLE COURT, ALL PARTIES, AND THEIR
                               2   ATTORNEYS OF RECORD:
                               3         PLEASE TAKE NOTICE, that pursuant to Rule 41(a)(1)(A)(ii) of the
                               4   Federal Rules of Civil Procedure, plaintiff Lanard Toys Limited (“Lanard”) and
                               5   defendants Big Lots Stores, Inc. (“Big Lots”) and RMS International (USA), Inc.
                               6   (“RMS”) file this stipulation of dismissal and hereby jointly stipulate to dismiss all
                               7   claims in this action in their entirety with prejudice. All parties shall bear their
                               8   own costs and fees.
                               9         SO STIPULATED
                              10   Dated: November 6, 2017                      By:    /s/ Craig J. Mariam
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                              23                                                Lanard Toys Limited

                              24                                                By:    _/s/ Jeffrey A. Lindenbaum___
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                                              JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
                             Case 2:17-cv-04469-R-JPR Document 46 Filed 11/06/17 Page 3 of 4 Page ID #:486



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                                                                               Attorneys for Defendants
    San Diego, CA 92101
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                              13                                               Big Lots Stores, Inc. and RMS
                                                                               International (USA), Inc.
                              14
                              15
                              16                      DECLARATION OF CRAIG J. MARIAM
                              17         I, Craig J. Mariam, am the ECF User whose ID and password are being
                              18   used to file this JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH
                              19   PREJUDICE. In compliance with Local Rule 5-4.3.4(a)(2)(i), I hereby attest that
                              20   the concurrence of the filing of this document has been obtained from each of the
                              21   other signatories indicated by a conformed signature (i.e., /s/) within this
                              22   document.
                              23
                              24   Dated: November 6, 2017                     By:    /s/ Craig J. Mariam
                                                                                        Craig J. Mariam
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                                               JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
                               Case 2:17-cv-04469-R-JPR Document 46 Filed 11/06/17 Page 4 of 4 Page ID #:487



                                 1                            CERTIFICATE OF SERVICE
                                 2         I am a resident of the State of California, over the age of eighteen years, and
                                 3   not a party to the within action. My business address is: Gordon & Rees LLP 101
                                 4   W. Broadway, Suite 2000, San Diego, CA 92101, my electronic mail address is
                                 5   jfarrar@grsm.com. On November 6, 2017, I served the foregoing document
                                 6   entitled: JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH
                                 7   PREJUDICE AND [PROPOSED] ORDER by electronic service through the
                                 8   CM/ECF System which automatically generates of Notice of Electronic Filing
                                 9   (“NEF”) and is sent by e-mail to all CM/ECF Users who have appeared in the case
                                10   in this Court. Service with this NEF will constitute service pursuant to Federal
                                11   Rules of Civil Procedure.
                                12
  101 W. Broadway Suite 2000




                                           I declare under penalty of perjury under the laws of the United States of
      San Diego, CA 92101
      Gordon & Rees LLP




                                13   America that the above is true and correct.
                                14         Executed on November 6, 2017 at San Diego, California.
                                15
                                16
                                17                                                 Jeanne P. Farrar
                                18
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                                                JOINT STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE
